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6                             UNITED STATES DISTRICT COURT

7                                    DISTRICT OF NEVADA

8                                                 ***

9     UNITED STATES OF AMERICA,                     Case No. 2:11-cr-00396-MMD-PAL

10                                  Plaintiff,
                                                                     ORDER
11          v.

12    JUAN FRANCISCO ORTEGA-DAVILA,

13                              Defendants.

14

15          Defendant filed a Motion for Review of Magistrate Judge’s Detention Order and/or

16    to Reopen the Detention Hearing (dkt. no. 99). The primary reason for the Motion is to

17    present new facts and information that were not presented to the Magistrate Judge for

18    consideration at the time of the initial detention hearing.        Accordingly, the Court

19    construes the Motion as a request to reopen the detention hearing.         The Motion is

20    referred to Magistrate Judge C. W. Hoffman.

21          DATED THIS 31st day of August 2012.

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                                                 UNITED STATES DISTRICT JUDGE
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